           Case 3:20-cv-00557-VAB Document 68 Filed 10/23/20 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


RYAN MERHOLZ and MELVYN KLEIN,                  Case No.: 3:20-cv-00557-VAB
Derivatively on Behalf of WORLD WRESTLING
ENTERTAINMENT, INC.,

                           Plaintiffs,

      v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,

                           Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


DANIEL KOOI, Derivatively on Behalf of          Case No.: 3:20-CV-00743-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,

      v.

VINCENT K. MCMAHON, FRANK A.
RIDDICK, III, JEFFREY R. SPEED, PATRICIA
A. GOTTESMAN, STUART U. GOLDFARB,
LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
PETERSON, STEPHANIE MCMAHON, MAN JIT
SINGH, ALAN M. WEXLER, GEORGE A.

[Caption Continued on Next Page]
           Case 3:20-cv-00557-VAB Document 68 Filed 10/23/20 Page 2 of 5




BARRIOS, and MICHELLE D. WILSON,

                          Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                          Nominal Defendant.


RODNEY NORDSTROM, Derivatively on Behalf of    Case No. 3:20-CV-00904-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                          Plaintiff,

      v.

VINCENT K. MCMAHON, GEORGE A.
BARRIOS, MICHELLE D. WILSON,
STEPHANIE MCMAHON, PAUL LEVESQUE,
FRANK A. RIDDICK III, STUART U.
GOLDFARB, LAUREEN ONG, ROBYN W.
PETERSON, MAN JIT SINGH, JEFFREY R.
SPEED, ALAN M. WEXLER, and PATRICIA A.
GOTTESMAN,

                          Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                          Nominal Defendant.


                   DENNIS PALKON’S MOTION FOR PERMISSIVE
                INTERVENTION, APPOINTMENT OF LEAD COUNSEL,
           AND DENIAL OF DEFENDANTS’ MOTIONS TO DISMISS AS MOOT




                                          2
         Case 3:20-cv-00557-VAB Document 68 Filed 10/23/20 Page 3 of 5




       Pursuant to Rule 24(b) of the Federal Rules of Civil Procedure, Dennis Palkon

(“Proposed Intervenor”)1 hereby seeks leave to intervene in the above-captioned action for the

limited purpose of: (i) appointment of his counsel as lead counsel; (ii) designation of the

proposed Verified Stockholder Derivative Complaint (the “Proposed Complaint in Intervention”)

as the operative complaint; and (iii) that the Court deny as moot Defendants’2 pending motions

to dismiss in light of the new operative complaint.

       The grounds for this motion are set forth in the accompanying Memorandum in Support

of Dennis Palkon’s Motion for Permissive Intervention, Appointment of Lead Counsel, and

Denial of Defendants’ Motions to Dismiss as Moot, the supporting Declaration of William H.

Narwold, and any arguments made before the Court.




1
 Proposed Intervenor is a World Wrestling Entertainment, Inc. ("WWE") stockholder who made
a demand to inspect certain of books and records WWE’s, pursuant to section 220 of the
Delaware General Corporation Law, which are pertinent to the claims asserted in this action.
2
 Defendants Vincent K. McMahon, Stephanie McMahon, Paul Levesque, Frank A. Riddick III,
Stuart U. Goldfarb, Laureen Ong, Robyn W. Peterson, Man Jit Singh, Jeffrey R. Speed, Alan M.
Wexler, George A. Barrios, Michelle D. Wilson, and Patricia A. Gottesman are referred to herein
as the “Individual Defendants,” and with nominal defendant WWE, are collectively referred to
herein as the “Defendants.”



                                                3
          Case 3:20-cv-00557-VAB Document 68 Filed 10/23/20 Page 4 of 5




Dated: October 23, 2020                     Respectfully submitted,

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                                            Palkon
1479605




                                        4
         Case 3:20-cv-00557-VAB Document 68 Filed 10/23/20 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2020, I electronically filed the above-titled document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

those registered as CM/ECF participants.

                                                /s/ William H. Narwold
                                                William H. Narwold (CT 00133)




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